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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


    ULTRAVISION TECHNOLOGIES, LLC,
                                                     Case No. 2:19-cv-00291-JRG-RSP
                  Plaintiff,
                                                     JURY TRIAL DEMANDED
    v.

    HOLOPHANE EUROPE LIMITED,
    ACUITY BRANDS LIGHTING DE
    MEXICO S DE RL DE CV, HOLOPHANE
    S.A. DE C.V., and ARIZONA (TIANJIN)
    ELECTRONICS PRODUCTS TRADE
    COMPANY, LTD.,

                  Defendants.


         ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
          OF NON-INFRINGEMENT OF U.S. PATENT NOS. 8,870,410 and 8,870,413


          Before the Court is Defendants’ Motion for Summary Judgment of non-infringement of

   U.S. Patent Nos. 8,870,410 and 8,870,413. The Court, having considered same, is of the opinion

   the motion should be GRANTED.
